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UNITED STATES DISTRICT COURT nNOCUMENT
SOUTHERN DISTRICT OF NEW YORK | PLECTRONICALLY FILED
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SIGNIFY HOLDING B.V.,
19¢ev5516 (DLC)
Plaintiffs, :
-V- : ORDER

 

AXIS LIGHTING, INC.,

Defendant.

DENISE COTE, District Judge:

Having reviewed the parties’ letters of October 9 and 14,
2020, it is hereby

ORDERED that Axis shall not add the phrase “to the extent
Axis is aware of any” to the definitions of accused products.

Tt IS FURTHER ORDERED that the parties shall make a good
faith effort to agree on a stipulation of claimed components and
advise the Court by October 22 at noon of any remaining dispute.

IT IS FURTHER ORDERED that Axis shall by October 28 make a
substantial production in response to Signify’s interrogatories
and document demands. Axis shall complete its production by
November 11, 2020.

Dated: New York, New York
October 16, 2020

Vw Lb,

DENISE COTE
United States District Judge

 

 

 
